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 1                           UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3 DAVON LYONS,                                        Case No.: 2:19-cv-00966-APG-NJK

 4         Petitioner                                Order Granting Unopposed Motion to
                                                                Extend Time
 5 v.
                                                                  [ECF No. 33]
 6 WARDEN BRIAN WILLIAMS, et al.,

 7         Respondents

 8        I ORDER that the respondents’ unopposed motion to extend time file a response to the

 9 second amended petition for writ of habeas corpus (ECF No. 33) is GRANTED.

10        DATED this 12th day of January, 2020.

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                                                     ANDREW P. GORDON
                                                     UNITED STATES DISTRICT JUDGE
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